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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

 SECURITY WATCH ALERT                      )
 TEAM, LLC.                                )
                                           )
                      Plaintiff,           )
                                           )
               v.                          ) CASE NO. 1:17-cv-00003-MPB-SEB
                                           )
                                           )
 CURTIS T. HILL, JR.,                      )
 in his official capacity as Indiana       )
 Attorney General,                         )
 DEREK R. PETERSON,                        )
 ED HUTCHISON,                             )
                                           )
                      Defendants.          )

                DEFENDANTS’ FINAL WITNESS AND EXHIBIT LISTS

        Defendants, Curtis T. Hill Jr., in his official capacity as Indiana Attorney General,

 Derek R. Peterson and Ed Hutchison, by counsel, Mollie A. Slinker, Deputy Attorney

 General, pursuant to this Court’s Order on Amended Case Management Plan, Dkt. 52 ,

 states as follows:

                                         Witnesses

     1. Arthur Small, representative of Plaintiff, Security Watch Alert Team, LLC. Mr.

        Small will testify regarding the allegations in the First Amended Complaint as

        well as his involvement in Security Watch Alert Team, LLC.

     2. Defendant, Derek R. Peterson. Mr. Peterson will testify as to his involvement as

        Deputy Attorney General throughout the administrative proceedings involving

        Security Watch Alert Team, LLC.


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     3. Defendant, Ed Hutchison. Mr. Hutchison will testify to his involvement as the

        investigator for the administrative proceedings involving Security Watch Alert

        Team, LLC.

     4. Kenneth Heiny, former authorizer of Security Watch Alert Team, LLC. Mr. Heiny

        will testify as to his involvement in Security Watch Alert Team, LLC. and the

        underlying administrative proceedings.

     5. Any individual listed on Plaintiff’s Witness List.

     6. Any individual that may be discovered as this case progresses.

     7. Any individual(s) needed for purposes of authenticating any document or

        business record.

     8. Any and all witnesses needed for impeachment and/or rebuttal purposes.

                                          Exhibits

     1. The administrative record for In the Matter of the Security Guard Licenses of:

        Security Watch Alert Team, LLC. d/b/a MyPrivatePolice.com, Lic. No.:

        SG21300004, Cause No. PISG 15-01.

     2. Certificate of Organization of S.W.A.T., LLC.

     3. Certificate of Trademark Registration of S.W.A.T. Security Watch Alert Team,

        LLC.

     4. Application for licensure as a security guard agency submitted on behalf of

        S.W.A.T. Security Watch Alert Team.




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     5. Letter from the Private Investigator and Security Guard Licensing Board to

        S.W.A.T. Security Watch Alert Team dated November 19, 2013 regarding the

        application for licensure.

     6. Certificate of Amendment of S.W.A.T., LLC.

     7. Articles of Amendment of S.W.A.T., LLC.

     8. Certificate of Trademark Registration for MYPRIVATEPOLICE MY PRIVATE

        POLICE.

     9. Letter from Art Small to Kerri Reed, Indiana Professional Licensing Agency,

        dated March 16, 2015.

     10. Letter from Kenneth L. Heiny to the Indiana Professional Licensing Board dated

        March 20, 2015.

     11. Transcript of the 30(b)(6) deposition of Security Watch Alert Team, LLC and all

        deposition exhibits.

     12. Transcript of Defendant Derek R. Peterson’s deposition and all deposition

        exhibits.

     13. Transcript of Defendant Ed Hutchison’s deposition and all deposition exhibits.

     14. All pleadings filed in this case.

     15. Any and all documents listed on Plaintiff’s Exhibit List.

     16. Any and all responses to discovery requests.

     17. Any and all documents needed for impeachment and/or rebuttal purposes.

                                                   Respectfully Submitted,

                                                   CURTIS T. HILL, JR.,

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                                            Attorney General of Indiana
                                            Attorney No.: 13999-20

                                    By:      s/ Mollie A. Slinker
                                            Mollie A. Slinker
                                            Deputy Attorney General
                                            Attorney No.: 34776-49




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                                 CERTIFICATE OF SERVICE


       I hereby certify that on October 17, 2018, I electronically filed the foregoing with

 the Clerk of the Court using the CM/ECF system. Service of this filing will be made on

 all ECF-registered counsel by operation of the Court’s electronic filing system.

       Zachary Judson Eichel
       zach@einterzlaw.com

       Michael L. Einterz, Sr.
       mike@einterzlaw.com



                                          By:      s/ Mollie A. Slinker
                                                  Mollie A. Slinker
                                                  Deputy Attorney General



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